Case 4:22-cr-00115-JFH Document 83 Filed in USDC ND/OK on 08/30/22 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

United States of America
vs.

Johnny Wesley Sparks

Date:

Plaintiff(s),

Defendant(s).

Case No.:4:22-CR-115-CVE-004

Criminal Information Sheet

8/30/2022 Interpreter: Yes UO No &
Magistrate Judge Jayne Deputy Stephanie Cope USPO A. Tyler
Date of Arrest: 8/29/2022 Arrested By: USM ] Detention Requested by AUSA
Bail Recommendation: Choose an item. CL] Unsecured
Additional Conditions of Release:
Oa Ob. Om On Oo Op Oq Or Us
Oe Od. Oe Of Og. Or (01, 02, 03, 04 O05, 06,0 7)
Oh O11 Of. Ou (O01, 02, 03, O04 O05, O06 O7)
Ok. (O ii, O ii, O iii) Ov (01, 02, 03, 04 05 0607, 08 O9, O10)
Ol. Ow (Ol, O2) O x. (other)
Defendant Requests Federal Public Defender/Ct. Appt. Counsel: xX) Yes O No
Defendant's Attorney: Jeffrey Williams &] FPD; L] Ct. Appt; L] Ret Counsel
AUSA: Dave Nasar } PeraCcsla-Ry
MINUTES:
Interpreter: - (1) Sworm

2
et erence appears #+-persen for IA on: A sacdictment O Information; O Complaint; OC Petition; Rule 5

by WwelCowith: CJ Ret Counsel; FPD; (Ct. Appt; © w/o Counsel

a Gnancial Affidavit received and FPD/CJA appointed; Present CJ) Not Present
Defendant’s name as reflected in the indictment/information/complaint/petition/Rule 5 is the true and correct legal name:

wo in open court
Corrected by interlineation to oS
to reflect Defendant’s true and correct name all previous filings are amended by interlineation to reflect same.

CJ Unable to verify in open court: 1 U.S. Atty. to verify & advise court; [ Defendant’s Attorney to verify & advise

court;
CJ of Indictment; 0) of Preliminary Exam; of Detention Hearing; 0) of Rule 5 Hearings

; Bond and conditions of release

Waivers executed and filed:
7 Bond set for

executed

O Government’s Motion for Detention and Detention Hearing filed in open coy

eerie held and Defendant pleads Not Guilty; Court accepts plea; 1 echeling dates to be mailed to counsel

CJ Initial Appearance continued to: at a.m./p.m.
OC Arraignment scheduled: at a.m./p.m.
C1 Detention Hearing scheduled: at a.m./p.m.
CJ Preliminary Exam scheduled: se at a.m./p.m.
BF ietovien remanded to custody of U.S. Marshal:

pn further proceeding; [ Pending release on bond for treatment
M

Mot. for Detention # XD: O) Granted; © Denied; oot Mot. for Hearing #R\_: O Granted; Denied; Moot

Additional Minutes:

Criminal Information Sheet CR-24 (11/2020)
